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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 BRIAN BERG,

       Plaintiff,

 v.
                                                    CASE NO.:
 CREDIT ACCEPTANCE CORP.,

       Defendant.
                                       /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, Brian Berg (hereinafter “Plaintiff”), by and through the

undersigned counsel, and sues Defendant, Credit Acceptance Corp. (hereinafter

“Defendant”), and in support thereof respectfully alleges violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                    INTRODUCTION

           1.   The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.   “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

 (2012).

           3.   “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


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 intended to give telephone subscribers another option: telling the auto-dialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        4.       According    to   the   Federal   Communications     Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.               There are

 thousands of complaints to the FCC every month on both telemarketing and robocalls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

 Wireless     Phones,   Federal    Communications      Commission,     (May     27,   2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                              JURISDICTION AND VENUE

         5.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        7.       Venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as the

 Defendant’s headquarters are located within this District, in Oakland County, Michigan.




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                              FACTUAL ALLEGATIONS

        8.      Plaintiff is a natural person, and citizen of the State of Michigan, residing

 in Wexford County, Michigan.

        9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        10.     Defendant is a corporation with its principal place of business located at

 25505 West 12 Mile Road, Southfield, Michigan 48034, and which conducts business in

 the State of Michigan through its registered agent, CSC-Lawyers Incorporating Service,

 located at 601 Abbot Road, East Lansing, Michigan 48823.

        11.     Defendant has called Plaintiff hundreds of times in an attempt to collect a

 debt associated with an auto loan.

        12.     Upon information and belief, some or all of the calls Defendant made to

 Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that he knew it was an

 auto-dialer because of the vast number of calls he received and because he heard a pause

 when he answered his phone before a voice came on the line, which is a common

 indicator of the use of an ATDS to place a call. Furthermore, Plaintiff received pre-

 recorded messages from Defendant.



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        13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number 231-***-6264and was the called party and recipient of Defendant’s calls.

        14.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

 aforementioned cellular telephone number in an attempt to collect on an auto loan.

        15.     On several occasions in 2018, Plaintiff has instructed Defendant’s agent(s)

 to stop calling his cellular telephone.

        16.     In or around the spring of 2018, Plaintiff first requested the calls to his

 cellular telephone stop. Plaintiff subsequently received over 200 auto-dialer calls from

 Defendant.

        17.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

 cellular telephone in this case.

        18.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

 telephone in this case, with no way for the consumer, Plaintiff, or Defendant’s own

 agents, to remove the number.

        19.     Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they do not

 wish to be called.

        20.     Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.




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         21.    Defendant has numerous complaints against it across the country asserting

 that its automatic telephone dialing system continues to call despite being requested to

 stop.

         22.    Defendant has had numerous complaints against it from consumers across

 the country asking to not be called, however Defendant continues to call these

 individuals.

         23.    Defendant’s corporate policy provided no means for Plaintiff to have

 Plaintiff’s number removed from Defendant’s call list.

         24.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         25.    Not one of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         26.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         27.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon his right of seclusion.

         28.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

 telephone line and cellular telephone by unwelcome calls, making the cellular telephone

 unavailable for legitimate callers or outgoing calls while the cellular telephone was

 ringing from Defendant’s call.



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        29.     From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

 his time. For calls he answered, the time he spent on the call was unnecessary as he

 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the cellular telephone and deal with missed call notifications and call logs

 that reflect the unwanted calls. This also impaired the usefulness of these features of

 Plaintiff’s cellular telephone, which are designed to inform the user of important missed

 communications.

        30.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

 cellular telephone and deal with missed call notifications and call logs that reflected the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

 telephone, which are designed to inform the user of important missed communications.

        31.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.

        32.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone where a voice message was left which occupied space in

 Plaintiff’s cellular telephone or network.




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         33.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely his cellular telephone and his cellular telephone services.

         34.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affected in a personal and individualized way by stress,

 nervousness, anger, frustration, embarrassment, annoyance, and aggravation.

                                           COUNT I
                                    (Violation of the TCPA)

         35.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 thirty-four (34) as if fully set forth herein.

         36.     Defendant willfully violated the TCPA with respect to Plaintiff,

 specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

 Plaintiff notified Defendant that Plaintiff wished for the calls to stop,

         37.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice without Plaintiff’s prior express consent in violation of federal law,

 including 47 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Credit Acceptance Corp. for statutory damages, punitive

 damages, actual damages, treble damages, enjoinder from further violations of these parts

 and any other such relief the court may deem just and proper.



                                                  Respectfully submitted,


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